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                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

IRA D. SOCOL,                          )
                                       )
                Plaintiff              )
                                       )       Case No.: 3:18cv00090
v.                                     )
                                       )
ALBEMARLE COUNTY                       )
SCHOOL BOARD, et al.                   )
                                       )
                Defendants.            )

                          MOTION FOR PROTECTIVE ORDER
                      AND TO LIMIT DEPOSITION EXAMINATIONS

        Third-party Albemarle County School Board, by counsel, moves, pursuant to Rule 26(c)

of the Federal Rules of Civil Procedure, for a protective order forbidding inquiry into certain

matters, or limiting the scope of disclosure or discovery to certain matters, identified in the

plaintiff’s Rule 30(b)(b) deposition notice as more fully set forth in the accompanying

memorandum. The School Board further moves for entry of an order staying the deposition,

currently scheduled for April 29, 2021, until such time as this motion may be heard.

        The School Board certifies that it has attempted to resolve this matter with plaintiff prior

to filing this motion to no avail.

        WHEREFORE, third-party Albemarle County School Board, by counsel, requests that its

motion be granted and for such other and further relief as the nature of this case may require.

                                                      Respectfully submitted,

                                                      ALBEMARLE COUNTY SCHOOL
                                                      BOARD


                                                        /s/ Jennifer D. Royer
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                                                   Counsel for Albemarle County School
                                                   Board


                                CERTIFICATE OF SERVICE

        I hereby certify that on the 17th day of April, 2021, I have electronically filed this
document with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to the following:

Jeffrey R. Adams
Lucas I. Pangle
Wharton, Aldhizer & Weaver, PLC
125 S. Augusta Street
Staunton, Virginia 24401


                                                          ALBEMARLE COUNTY SCHOOL
                                                          BOARD

                                                           /s/ Jennifer D. Royer
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